Case 1:05-cv-OlO79-.]DT-STA Document 26 Filed 08/29/05 Page 1 of 2 Page|D 21

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IN THE UNITED STATES DISTRICT COURT 05 G”
FOR THE WESTERN DISTRICT OF TENNESSEE 400
EASTERN DIVISION f 3 0
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TERESA SMITH, ) `W:¢`S’g»/Q€U
) fir ,
Piaimifr, ) FQV /
) NO. 05~] 079 T/AN
vs. )
)
GREYHOUND LINES, INC., a )
Delaware Corporation, )
)
Defendant. )

 

ORDER GRANTING JOINT MOTION TO CON'I`INUE CASE
MANAGEMENT CONFERENCE

 

Currently, a Case Management Conference in this matter has been set for August 30,
2005 at 10:00 a.rn. Because this case is one of seven pending in federal courts arising cut of an
accident in Jackscn, Tennessee on August 6, 2004, the parties have requested that the Case
Management Conference be continued until such time as three of the cases can be transferred to
this Ccurt. Therefore, it is Ordered that the August 30, 2005 Case Management Conference is

continued The Court Will reschedule the Case Managernent Conference by separate order.

IT IS SO ORDERED.
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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DATE

Thls document entered on the docket sheet ln compliance

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This notice confirms a copy of the document docketed as number 26 in
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

